240 F.2d 403
    UNITED STATES of America, Appellee,v.Lloyd Russell CAMPFIELD, Appellant.
    No. 196.
    Docket 24262.
    United States Court of Appeals Second Circuit.
    Argued December 14, 1956.
    Decided January 9, 1957.
    
      Lloyd Russell Campfield, appellant, submitted a brief pro se.
      John O. Henderson, U. S. Atty., Buffalo, N. Y., submitted brief for appellee; Neil R. Farmelo, Asst. U. S. Atty., Buffalo, N. Y., of counsel.
      Before SWAN, MEDINA and WATERMAN, Circuit Judges.
      PER CURIAM.
    
    
      1
      In May 1954 defendant pleaded guilty to an indictment which charged violation of 18 U.S.C.A. § 2312 (interstate transportation of a stolen motor vehicle). He was sentenced on June 28, 1954 by Judge Knight to a term of three and one-half years which he is still serving. In October 1955 he moved under 28 U.S.C.A. § 2255 for vacation of his sentence. From denial of the motion he appealed. In May 1956, upon the appellee's consent, this court vacated the order and remanded the matter for a hearing. A hearing was had on June 21st at which testimony was given by several witnesses, including Campfield himself and the attorney who represented him in court when he was sentenced. Judge Burke made detailed findings of fact and conclusions of law. He found the sentence pronounced by Judge Knight to be legal and no right of defendant to have been invaded. An examination of the record demonstrates the fairness of the hearing and the correctness of Judge Burke's denial of the motion.
    
    
      2
      Order affirmed.
    
    